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LAW OFFICES OF CIVARDI & OBIOL, P.C.
Attorneys for Plaintiffs

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(316) 678-9797

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

ESTATE OF DANIEL McDONNELL, BY DANIELLE
McDONNELL, Administrawix, DEVON McDONNELL,

an infant by his mother and natural guardian,

DANIELLE McDONNELL and DANIELLE McDONNELL,

Individually,
Plaintiffs,
STIPULATION TO AMEND
-against- COMPLAINT
COUNTY OF SUFFOLK, SUFFOLK COUNTY CV L221 (WERK)

POLICE DEPARTMENT and MULTIPLE SUFFOLK
COUNTY POLICE OFFICERS WHOSE NAMES ARE
CURRENTLY UNKNOWN,

Defendants.

 

IT IS HERERY STIPULATED AND AGREED by and between the attomeys for 11x¢
parties that the Complaint in the above-referenced action be amended upon consent pursuant to
Rute 15 (2) of the FRCP.

IT IS FURTHER STIPULATED AND AGREED this Stipulation may be filed withe ut

further notice with the Clerk of the Court.

Dated: Freeport, kew York

 

 

March 15, 2012
LAW OFFIQES OF CIVARDI & OBIOI,, P.C. see coh AG
By: By .
Stephen Civardi, Esq. (8376) Brian Mitchell, Esq.~
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